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                                       Statem entofFacts

     1. DERYL LEON is39 yearso1d and ata11relevanttimeswasaresidentofM iam i,Florida.

     2. Atal1relevanttim es,LEO N had oftices athis hom e ora sm allcom m ercialspace in the
        M iam i,Florida area.

        LEON incorporatedandopenedSkinnyCrow Music,Inc.(ttskinnyCrow'')inNovember
        2005because heplanned to getinto themusicbusiness.

        Approxim ately tiveyearslater,LEON gotinvolved in and m adem oney buying and
        exporting feedstock,including used cooking oil,and otherliquid productsusing Skinny
        Crow asthe vehicle for these purposes.

     5. In 2010,LEON reported to theIRS aprotitofapproxim ately $25,000 from Skilmy Crow
        on his corporate incom e tax retum .

        Byearly 2011,LEON wasusing Skinny Crow exclusively to buy,collect,export,and sell
        used cooking oiland otherliquid products. Through Skinny Crow ,LEON becam e
        experienced in thelogisticsofhandling thetransportation ofliquid productsthroughout
        the U nited States and intem ationally,including loading,tnzcking,shipping,storage,and
        brokering m any types ofliquid product.

        U ntilapproxim ately 2011,LEON 'S Skinny Crow operated outofhishouse.

     8. A ta11tim esduring the years involved w ith C OM PA N Y -I,Skinny Crow had no plant,no
        processing equipm ent,orcapacityto processand produceany kind ofbiofuelproduct.
        A nd LEO N did notknow how to produce biodieselorbiofuel.


        The India B iodieselSchem e w ith False Invoices

     9. In late A ugust2011,in H ouston,Texas,LEON w asintroduced to and firstm etJO HN
        D OE-1,w ho asked LEO N ifhe could buy biodieseland ship itto lndia forJOH N D OE-
        1's com pany,COM PAN Y -I,which operated outofU tah.

     10.JOHN DOE-Iwaspresidentand CEO and 50% ownerofCOM PANY-I,and held a
        PIA.D .in engineering.

     11.JO HN D O E-2 w as one ofJO HN D OE-I'sbrothers,and wasthe chieftinancialofticer
        and 50% ownerofCO M PA NY -I along w ith JOHN DO E-1.

     12.LEON knew thatthese brothers also had anothercom pany called CO M PA N Y -Z,which
        they involved in their fuelbusiness.
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     13.JOH N D O E-I's m other,M OTH ER D O E,and w ife,D OE-I'S W IFE, also worked for
        CO M PAN Y -I.

     14.ln early Septem ber20l1,LEON and JOH N D OE-I orally ap eed thatSkilm y Crow
        would buy B99biodieselforCOM PANY-Iand handlethelogisticsofshipping the
        productto lndiaforCOM PANY-I.

     15.In m id-septem ber 2011,LEO N senta draftcontractto CO M PAN Y -I m em orializing the
        oralagreem ent. M OTH ER D O E retum ed the draftcontractw ith an instruction to alterit
        to read thatSkinny Crow would purchasetdwastevegetableoil''ratherthan B99biodiesel.
        LEON understood thathewasstillto purchaseB99biodieseland notûtwastevegetable
        oil''despite the alteration to the w ritten contract.

     16.Betw een Septem ber2011 and February 2012,atthe requestofJO HN D O E-I and
        M OTHER DOE,LEON created,altered,signed,and sentnumerousfalsedocuments
        relating to hispurchase/shipm entofbiodieselto lndia on behalfofCOM PA NY -I:

               A tthe tim e,LEON w as notcom pletely aw are ofhow JOH N D OE-1,M OTHER
               DOE,and COM PANY-Iwereusing the falsedocuments'      ,

            b. N either LEO N norSkinny Crow received any additionalcom pensation for
               creating,altering,orsir ingthefalsepaperwork.

     l7.From in oraboutSeptem ber2011through mid-December201l,LEON boughtB99
        biodieselfrom a Florida source. Overthese sam e m onths,LEON arranged forthe
        biodieselto betransportedto lndia. Thelastshipm entarrived in India in orabout
        January 2012.

     18.LEON submitted invoicesforthe saleofB99 biodieselto COM PANY-I.Subsequently,
        pursuantto the instrud ions ofJOH N DO E-I and M OTHER D OE,LEON altered the
        invoicesto falsely statethatSkinny Crow had sold ttused cooking oil''to COM PANY-I.

     19.Atthe requestofM OTHER DOE,LEON also signed and subm itted a false Feedstock
        Certitication documentthatfalsely certitied hehad provided COM PANY-Iwith
        itfeedstock''when in facthehad provided B99 biodiesel.

     20.ln addition,on February 10,2012,weeksafterthelastofthe B99biodieselhad been
        deliveredto lndia,M OTHER DOE asked LEON to fillout,sign,backdateand return to
        hera CO M PA NY -I ttTo11Processing A greem ent,''which falsely stated the following:

            a. COM PANY-Ihad provided liquid biom assfeedstock to Skilm y Crow;

           b. Skinny Crow had processed theliquid biomassfeedstock and produced ttbiom ass
               fuel''to certain standardsto m eetspecifications,and done so ata plantduring a
               production processusing equipm ent,labor,and utilities;
                                                                                                   $
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                  Skinny Crow wasblending thettbiom assfuel''with ddtaxablefuel''7'and

            d. Skinny Crow would notbillCOM PANY-Ifortheprocessing and production of
               any biom assfuelthatdid notm eetspecifications.

     21.On February 10,2012,LEON filled out,signed,and backdated thefalseCOM PANY-I
        t6TollProcessing A greem ent.'' H e retum ed itto M O TH ER DO E atC OM PAN Y -I w ithin
        five m inutes.

     22.LEON did notprocessorblend product.Any blending certificatesthatstate LEON or
        Skirm y Crow blended any productare false.

     23.LEON reported $194,422 ofincom efrom Skinny Crow onhis2011 federalincometax
        return.


        The Fake G en-x lnvoices Schem e

     24.ln November2011,M OTHER DOE m etLEON attheM iami,Floridaairportforlunch.
        Shortly afterthe m eeting,M OTH ER D OE asked LEON to create fake invoices. She
        asked LEON tohavetheseinvoicesfalsely state thatSkinny Crow sold used cooking oil
        to a com pany called G en-x in M oses Lake,W ashington. LEO N falsely listed the
        containershehad used to ship B99biodieselto lndiaforCOM PANY-Ion thesefake
        Gen-x invoices.

     25.LEON w asnotaw are ofthe purposesforwhich M O THER DO E w asusing these fake
        G en-x invoices. Skinny Crow neversold anything to G en-x .


        T he Fake Skinnv C row Invokes Schem e

     26.In January 2012,JOH N D O E-I and M OTH ER D OE also asked LEON to prepare an
        entire seriesoffakeSkinny Crow invoicesforCOM PANY-I,which falsely stated that
        Skilmy Crow sold to COM PANY-Iatotalof39 million poundsofused cooking oil
        between August5,2011and December30,2011.LEON did notsellany used cooking
        oi1to CO M PA NY -Iin 2011. LEON w asnotaw are ofthe purposes forw hich JOH N
        D OE-I and M OTH ER D O E were using these fake Skinny Crow invoices.


        The Panam a Schem e w ith False lnvoices

     27.In January 2012,JO HN D O E-1,M OTH ER D O E,and D O E-I'S W IFE agreed with
        LEO N to have the nextshipm entofB99 biodieselhe boughtand transported for
        COM PAN Y -I delivered to,and then through,Panam a before being shipped to Califom ia.   '
        The schem einvolved the following falsedocum entsand statements:                       '
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             a. LEON prepared thefalseinvoicesand related documentsforthe B99biodiesel
                SCM boughtin Florida forCO M PA N Y -I to read thatitw as 6kused cooking oil''
                thatSCM sold to COM PANY-Iinstead ofbiodiesel'
                                                             ,

            b. COM PANY-Iand/orCOM PANY-Z boughtB99 biodieselfrom a sourcein
               Arkansas,and similarly falsely claimed thatthe B99biodieselitboughtwassold
               to COM PAN Y -I by Skinny Crow asétused cooking oil'''

                COM PANY-Ifalsely claim ed on paperthatitpaid Skinny Crow to processthe
                used cooking oi1into blended heating oil,and then sold theheating oi1to Skinny
                Crow ;

            d. Skinny Crow then had theB99 biodieselshipped viaboatsfrom the United States
                toPanamaand then ttsold''(onpaperonly)theB99 toacompanyinPanama
                describing itasCtUCO forfurtherprocessing.''

                ThePanamanian companythen transported theB99 bytruck acrossPanam a, and
                thendésold''(onpaperonly)theB99biodiesellabeledasusedcookingoi1backto
                Skinny Crow and/oritsdesignee,CE,a com pany ow ned by LEON 'Sbusiness
                associate;

                The B99 biodieselw asthen im ported into California and falsely described asused
                cooking oi1when itw aséksold''to COM PAN Y -I;

            g. LEON created false CE invoicesthatstated CE Sssold''this dfused cooking oil''to
               COM PANY-I,when in facttheproducthad alwaysbeen B99 biodiesel'        ,

            h. The B99 wasin factalw aysow ned by COM PAN Y -I throughoutthe entire
               PCOCCSS;

                Oncethe 97 containersreached theportofLosAngeles,they weretransferred to
                Titan Term inal.


        The Fake Cvtek InvoicesSchem e

     28.Around the sam etim e,in early 2012,M OTHER DOE,JOHN DOE-2 and JOHN DOE-I
        asked LEON to create m ore fake invoicesforC E thatfalsely stated thatCE had sold four
        m illion gallons ofused cooking oi1to CO M PA NY -I betw een A ugust5, 2011 and
        D ecem ber 30,2011. LEON w as notaw are ofthe purposes for which M O TH ER D O E
        and JO HN D OE-2 w ere using these fake CE invoices.

     29.A tM OTH ER DO E's request,LEON also had tilled out,signed,and subm itted to                     ,

        CO M PAN Y -I a fake and undated Feedstock C ertification docum ent, w hich falsely stated
        thatCE had provided feedstock thatqualitied as ttrenew able biom ass''to CO M PA N Y-I.
                                                                                                     )
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         The Davton.TexasSchem e w ith False lnvoices

     30.LEON incorporated Catan TradingCo.in February2012,and began usingthiscom pany
        to handle thebuying and selling ofcomm odities.In addition,LEON created Catan in
        orderto beginto separatehim selffrom hisbusinessassociatesthathewasthen paying
        through Skirm y Crow .

     31.LEON nextbought100,000 gallonsofB99 biodieselforCOM PANY-Ibetween M ay
        and Septem ber2012 in H ouston,Texas,and agreed to do the follow ing:

                  Notrevealthatthebiodieselwasbeing trucked from Houston to aplantin
                  Dayton,Texas,which JOHN DOE-Itold him COM PANY-Icontrolled;

            b. M akeup afalsezip code and addressforthedestination oftheproduct'
                                                                               ,

                  Provide false invoices to CO M PAN Y -I describing the productttsold''to
                  COM PANY -I asused cooking oil.

     32.LEON w as notinfonued asto the true destination ofthe B99 biodieselhe purchased for
        COM PANY-I,orthepurposesofm islabeling itasused cooking oil.


        The M orrissev O ilSchem e w ith False lnvoices

     33.LEON nextagreedtohandlethelogisticsfortransportingbiodieselthatCOM PANY-I
        boughtfrom an lrish com pany in the tinalquarterof2012. LEON agreed to transportthe
        fuelfrom H ouston to CO M PA NY -I'S D ayton,Texas facility. A tthe requestof
        M OTHER DOE,LEON prepared invoicesthatfalsely described the productbeing
        shipped asfeedstock called dTatty Acid.''

     34.Atoraround the sam etim e,LEON agreed to handlethe logisticsfortransporting
        COM PA N Y -I'Sbiodieselfrom Plym outh,U tah to Taiw an. H e and hisassociatesm oved
        the biodieselvia truck and railfrom Plym outh to O akland,California, and then via ship
        toTaiwan.

     35.LEON believesthatCO M PAN Y -I created invoices thatfalsely listed Skinny Crow asthe
        dom estic buyerofthebiodieselshipped to Taiw an.

     36.LEON reported $338,138ofincom efrom Skinny Crow on his2012 federalincom etax
        return.


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                     ConspiraçvtoD efraud the UnitedStatesand ImpedetheIRS

        The W estwav Schem e:Rotatinz Productand Cvcline Funds

     37.O n oraboutM em orialD ay,2013,LEON traveled w ith JO HN D O E-I and his wife D OE-
        1'S W IFE to Venezuela.Duringthattrip,JOHN DOE-Ioffered LEON $10 million
        dollarsto becom e partofa new schem e.

     38.LEON ap eed to help obtain and handle the logisticsforseveralm illion gallons of
        biodiesel,andto then find and rentadditionalstorage tanksforCOM PANY-1and Skinny
        Crow/catan. H e w as also instructed to rotate the biodieselbetw een storage tanksvia
        bargesso asto fraudulently m akeitappearthatthebiodieselwasbeingproduced and/or
        blended and then sold.

        JOHN DOE-I'sforeignbankaccounts
     39.JOH N D O E-I shared detailsw ith LEO N ofJOH N D OE-I'sforeign entities and bank
        accounts he used to hide hism oney,and suggested to LEON thathe setup foreign
        entities and bank accountsw here LEON could hide som e ora11ofhis earnings.

     40.lttook severalw eeks for LEO N to secure additionalstorage tanks,biodiesel,and barges
        forthisschem e.LEON tirstlocated and rented storagetanksattwo W estway Tenninals
        in H ouston,Texas,w here CO M PA NY -I already had tank storage space. ln late July
        2013,heflew to SaltLake City foran in-person m eeting shortlybeforetherotation was
        to begin.

        The 100 m illion gallon goal
     41.A tthis July 2013 m eeting with JO HN D O E-I and D O E-I'S W IFE,LEON w as told that
        the goalofthe biodieselrotation schem e w ould be for LEON to rotate 100 m illion
        gallonsofproduct. LEON cam e to understand and agree thatrotating thatm any gallons
        would allow CO M PA N Y -Ito falsely and fraudulently claim thatithad produced and/or
        blended l00 m illion gallonsofbiodiesel,which would then allow COM PANY-Ito
        fraudulently obtain $100 m illion from the IRS,ofwhich LEON wasgoing to bepaid $10
        m illion.

     42.Between Juneand December30,2013,LEON and JOHN DOE-Iand othersat
        COM PA N Y-I obtained approxim ately 10 to 15 m illion gallons ofB 100 biodiesel,B99
        biodiesel,and used cooking oil. LEON mixed allthesetogetherin storagetarlksin two
        terminalsin Houston,Texasand onein Louisiana,and then repeatedly rotated them ixed
        productbetw een these tanksvia barges.

     43.LEON created som e fake invoicesbutunderstood thatthe CO M PA N Y -I team w ould
        prepare the bulk ofthe fake,false,fraudulentand som etim es forged docum ents forthe
        schem e.Leon also understood thatCOM PANY-Iwouldbetiling $100 m illion in
        fraudulentrefund claim s from the IRS.




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         TheSpreadsheet
     44.Shortly afterthislate July trip to SaltLake City,LEO N created a spreadsheetin orderto
        detail,date,and keep track ofthenumberofgallonsrotated between the storagetanks,
        and he sentthe spreadsheetto JOHN DOE-Iand DOE-I'S W IFE via em ail.

     45.From thatpointfom ard,LEON ,D O E-I'S W IFE and JOH N D O E-I m aintained and
        added to the spreadsheet,which they keptonly on athum b drive. They exchanged this
        thumb drivein person. Theyno longerem ailed the spreadsheetorthe inform ation it
        contained forfearthatitwould existin ttcyberspace.''

        Cycling ofFunds
     46.JO HN D O E-1,D O E-I'S W IFE,and LEON also agreed to cycle fundsbetw een balzk
        accountsm aintainedby Skinny Crow,Catan,and COM PANY-I,so asto m ake itappear
        thatbiodieselwasbeing purchased,produced and/orblended,and then sold.

     47.DOE-I'S W IFE sentLEON afakeinvoicethatfalsely stated Catan purchased 4.5m illion
        gallonsofbiodieselfrom COM PANY-Iforover$12 m illion.
     48.LEON initially understood thattheagreem entincluded only him,JOHN DOE-1,and
        D OE-I'S W IFE,butlater leam ed thatboth M O TH ER DO E and JO HN D O E-2 w ere also
        pa14oftheagreem ent.

     49.In August2013,JOHN DOE-2 sentLEON $1million tobegin thecycling offunds.
        Betw een August2013 and M arch 2014,JOH N DO E-l,JO HN DO E-2,DO E-I'S W IFE,
        M OTHER DOE,and LEON cycled over$417 million dollarsbetween COM PANY -I,
        Catan,and Skilm y Crow designed to give the false appearancethatCO M PA NY -Iw as
        producing and selling millionsofgallonsoffuelthatqualified forrefundablefueltax
        credits. LEON used som e ofthe cycled fundsto pay costsassociated w ith the schem e.

     50.ln addition,DOE-I'S W IFE faxed aseriesoffakeinvoicesto LEON every few days,
        w hich would provide him with the am ounts to return to C OM PA N Y -I outofthe w ired
        funds,and which also would serve to fraudulently docum entthatbiodieseltransactions
        werebeing com pleted. LEON deleted theinvoicesfrom hisefax afterm aking the
        paym ents.

        ThePanama Roundtrip
     51.In A ugust/septem ber2013,LEON and JO HN D O E-2 traveled to Panam a to prepare for
        anotherpartofthe fraudulentW estw ay rotation schem e.

            a. W ith the help ofPanam anians,JO HN D OE-2 established a foreign entity in the
               Bri
                 t
                 ishVi
                     rgi
                       nIsl
                          andsnamedAt
                                    rumLt
                                        d.
                                         '
                                         ,
               LEON arranged forapproxim ately 3.5 m illion gallons ofthe m ixed productin
                                                                                                 IL
               Houston,Texasto be loaded onto a ship asifsold by COM PAN Y -I to Catan,and
               then transported to lsla M elones,Panam a,w here itw asoffloaded into a tank;
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            c. LEON then had the sam e 3.5m illion gallonsreloaded onto the same ship and
               retum ed to Houston,whereitwasttsold''by Atrum back to COM PANY-Ias
               B 100 biodiesel;

           d. DOE-I'S W IFE sentLEON ablank invoice from herpersonalem ailaddressfor
              him to useto create afakeAtrum invoice'
                                                    ,

               COM PANY-Ipaid over$1m illion in coststotransferthesesam egallonsof
               m ixed productto Panama andback in thesame ship;

               JOHN DOE-2,DOE-I'S W IFE,JOHN DOE-Iand LEON fraudulently inserted
               Catan intotheschem eto makeitappearthatCOM PANY -Ihad sold biodieselin
               the U nited States foruse asfuel;

           g. JOHN D O E-2,D O E-I'S W IFE,JO HN D O E-I and LEO N fraudulently inserted
              Atrum into the schemeto m akeitappearthatCOM PANY-Ihad purchased and
              im ported more B100biodiesel,which itcould then falsely claim to blend into B99
              biodiesel;

           h. Solely as a resultofthis Panam anian roundtrip schem e,LEO N believes
               COM PANY-Im ay havefraudulently claim ed $7 m illion in tax credits.
        TheDieselPurchase
     52.In oraround N ovem ber2013,LEO N 'Sco-conspirators asked him to store dieselfuelthat
        theyhad purchased aspartoftheschem ein astoragetalzk in Texas.LEON understood
        COM PANY-Iwould laterfalsely claim thatitused thedieselfueltoblend B 100
        biodieselinto B99 biodiesel.Thedieselfuelwasneverused forblending.

        CovertComm unications
     53.Astheconspiracy todefraud theUnited Statesprogressed,LEON 'Smethodsof
        communication with JOHN DOE-1,DOE-I'S W IFE,M OTHER DOE,and JOHN DOE-
        2,becam e m ore and m ore covert:

               ln early 2014,LEON w as provided w ith a ttburnerphone''so thatLEON could
               com m unicate w ith JOH N D OE-1,DO E-I'S W IFE,M O THER D OE,and JOH N
               D OE-2 w ithoutbeing traced.

           b. Theparticipantsin theschem enotonly called each otherusing iiburnerphones,''
              butincreasingly senttexts and faxesratherthan em ails.

               The false,fake and fraudulentinvoicesw ere often sentby fax ratherthan em ail
                                                                                                   ku
               and then deleted.

               LEON continuedto obtain severalotherçtburnerphones''afterthe tirstwasused.


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                JOHN DOE-2 also boughtJOHN DOE-1,LEON,and him selfûtburnerphones''to
                be used in the schem e.

                Theparticipantsalso keptdocum entsand spreadsheetson thum b drives, w hich
                they exchanged in person ratherthan sending viaem ail.

            g. The participants also used encrypted m essaging services such as ttW hat'sA pp.''

            h. A ttim es,and often w ith little to no notice,JO H N D O E-I w ould requestthat
               LEON flyto SaltLakeCity orelsewhereforin-person meetingsto discussthe
               schem e'sdetailsratherthan talk overthephone.

     54.A tthe close ofthe year2013,the W estw ay rotation ofproductended because the tax
        creditexpired. However,the cycling offundscontinuedinto M arch 2014 in orderto
        makeitappearthatthe tictionalsalestransactionsforthebiodieselCOM PANY-I
        claim ed to haveproduced orblended in 2013wasstillongoing.

     55.D uring the firsthalfof2014,LEON assisted CO M PA NY -I w ith the logistics of
        transporting the rem ainingm ixed productto foreign buyersto whom COM PANY-Ihad
        contracted to sell. LEON understood and agreed thatoneofhiscom panieswould be
        fraudulently listed on these salestransactionsasthedom esticbuyerfrom COM PANY-I
        or COM PA N Y -Z in order to create paperwork for COM PAN Y -I to fraudulently claim
        tax credits.


        2014 Cvclinz ofFunds and Fake Invoices

     56.In Septemberand October2014,JOHN DOE-1,DOE-I'S W IFE,JOHN DOE-2,and
        LEON cycled over$100 m illion between Skilm y Crow,Catan,and COM PANY-I,to
        givethe falseappearancethatCOM PANY-Ihad produced and sold millionsofgallons
        offuelthatqualitied forrefundablefueltax credits. LEON wastold hewouldbepaid $2
        m illion forhis role in thisnew cycling schem e.

     57.D uring these tw o m onths,JOHN D O E-2 transferred m illionsofdollarsfrom
        C OM PA N Y-I'sbarlk accountto C atan'sbank accountevery few days.

     58.DOE-I'S W IFE faxed setsoffakeinvoicesto LEON every few days.Theseinvoices
        provided LEON with theam ountsto retum to COM PANY -I. LEON includedthefake
        invoice num bers aspartofhis transfer offundsto CO M PA NY -I and then deleted the
        invoicesfrom hisefax.

     59.LEON wired approxim ately $99 million dollarsthrough hisaccountsand then back to
        COM PAN Y -I perthe instructionsofD O E-I'S W IFE and JOHN DO E-1.
                                                                                                       7)-

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         2015 Cvclina ofFunds and Fake Invoices

      60.In early 2015,LEON wascontacted byJOHN DOE-I and asked to participatein another
         cycling offundsscheme.

      61.ln them onth ofApril2015 alone,JOHN DOE-2 and JOHN DOE-Iand M OTHER DOE
         cycled approximately $588 millionbetween thebank accountsofCOM PANY-I, Catan
         and Skinny Crow to givethefalse appearancethatCOM PANY -Ihad produced and sold
         m illionsofgallonsoffuelthatqualified forrefundablefueltax credits:

            a. Specifically,JOHN DOE-2 sentLEON 'SCatan account15 separate transfers
               from C OM PAN Y -I's account;

                 13 ofthe 15 transfersexceeded $41m illion and wereon consecutivebusiness
                 days;

                 LEON transferred thefundsfrom hisCatan accountintohisSkinny Crow
                 account;

            d. Then LEON transferred thefundsback from hisSkinny Crow accountto
               COM PANY -I,exceptforapproxim ately $10,000.,
                 M OTHER DOE would eithercallhim ortexthim on burnerphonesto provide
                 him the am ountofm oney to transferback, and provideinvoicenum bers;

                 Form ostwires,LEON included thesem ultiple invoicenum berswith histransfer
                 to m ake itappearthathe w as paying invoices from COM PAN Y -I forsom e
                 biodieseltypeproduct.

     62. LEON understood his co-conspirators atCO M PAN Y -I w ould create fake, fraudulent,
        or forged invoices.


        RA Little H ollvw ood'':2015-2016 C vclinz ofFunds and Fake lnvoices

     63. ln N ovem ber 2015,LEO N received a callfrom JOH N DO E-1, w ho asked him to again
        participatein acycling offundsschemewith fake invoices. JOHN DOE-Itold LEON
        thatthey needed (*alittleHollm ood''and asked him to securetwo m ore entitiesto
        include in the schem e.

     64.LEON asked a fliend to participate in the schem e,and they ap eed to use his fliend's
        com pany know n as U F. In addition,LEO N used anothercom pany, Xena,thathe had
        incom orated. LEON and JOHN DOE-Iagreed to dotwo sim ultaneouscycling schem es
        Oneusing COM PANY Z,Xenaand UF,and the otherusing COM PANY-I SCM and .
                                -                                                                J
                                                                                  ,
        Catan.



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                           VCX                                      J

      65.Beginning around Thanksgiving2015,JOHN DO E-Iand JOHN DOE-2 began
         transferring fundsto LEON 'S Catan account. LEON and theothersmoved over$13.6
         m illion in the sam e m annerasthe previous schem es:CO M PA NY -I to Catan, C atan to
         SCM and SCM back to CO M PA NY -I.

      66.Ataroundthesam etime,how ever,JOHN DOE-2 transferred $1m illion from
         COM PANY -Iinto a newly opened bank accountunderthenam eofCOM PANY-Z, and
         thentransferred thosefundstoXena. LEON and JOHN DOE-Iand JOHN DOE-2
         cycled this$1m illion nineseparatetim essothatm orethan $8.6m illion movedbetween
         COM PANY-Z,Xena,and UF,and back to COM PANY-Z to give the false appearance
         thatCOM PANY-Iwasproducing and selling m illionsofgallonsoffuelthatqualified for
         reftmdablefueltax credits.

     67.In Decem ber2015,afterthe m oney had already started cycling,LEON flew to SaltLake
        City in orderto discuss the new schem e w ith JO HN D O E-1, JO HN D O E-2,M O TH ER
        DOE,and DOE-I'S W IFE.W hilethere,JOHN DOE-Itold LEON thathe intended to
         cycle $1.2billion with LEON during thisschem e.

     68.The participantsin thiscycling schem ealso created fakeinvoices.

     69.ln oraround lateJanuary 2016,JOHN DOE-Istopped cycling thefunds,and called
        LEO N and told him thatthey had to dsslow dow n.'' Thiscycling schem e w as stopped and
        nevercom pleted.


         çtsovbeans''

     70.On February4,2016,JOHN DOE-I called LEON to alerthim thathe had been inform ed
        thatfederalagentsw ere planning to tt
                                            raid''CO M PA NY -I laterthatw eek. JO HN D O E-I
        told LEON hewould usethecodeword Stsoybeans''ifandwhen ithappened.

     71.O n February 10,2016,JO HN D O E-I called LEON and told him ttw e boughtsoybeans
        today,you should getprepared.''

     72.In phonecallsafterFebruary 10,both JOHN DOE-Iand M OTHER DOE urged LEON
        notto talk to the federalauthoritiesifhe wascontacted.JOHN DOE-Iasked LEON to
        m eethim in Cancun,M exico. LEON declined.

     73.On February 28,2016,JOHN DOE-I flew from Cancun,M exico to M iam i.Floridaand
        asked LEON to m eethim there. LEO N m etJOH N D O E-I atam otel, w here JO HN
        D O E-I asked him to take offhis shirtto prove he w asnotwearing a w ire. Both their
        cellphonesw ere placed in the m icrow ave. JO HN D O E-I urged LEO N notto talk and to
        be strong.Hetried to convince LEON thatttthey had outs''.




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      74.On M arch 2,2016,LEON received in them ailanotherttburnerphone''to usein
         continuing to communicatewith hisco-conspirators. LEON believesthephonewassent
         byJOHN DOE-Iand M OTHER DOE.

      75.On M arch 10,2016,M OTHER DOE emailed to LEON avideo from Youtubecalled
         ttDon'tTalk to Cops.''



        IcertifythatIhave carefully read thisstatem entoffacts,reviewed itwith m y attorney,
        and thefactslaid outherein aretrueand correct.

           '

   Date: U /9 Zq'
                /çBy:                               .
                                                        -      -'
                              D ERY L LEO
                              D EFEN DA T
